Case 2:04-Cr-20485-BBD Document 51 Filed 06/30/05 Page 1 of 2 Page|D 74

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEF|LED |N OPEN COURT

WESTERN DIVISION DATE:, G- 3 0 - 900 5
UNrrED STATES 0F AMERICA, »= TlME:_[@_'.ZQAm__
lNlTlALS: iii
Plaimiff, *
"' * cR. No. 2:04cr20485-D
YvoNNE PATrERsoN, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

For good cause shown, defendant’s request to Waive her appearance at report date set in
this case for Thursday, June 30, 2005 at 9:00 a.m. is hereby GRANTED. Defendant shall not be
required to appear at the above report date.

It is so ORDERED, this the g j day of June, 2005.

   

 

J.¢_..
NORABL’E BERN‘.!CE B. DoN;(LD
TED sTATEs DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 51 in
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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

